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                         IN THE UNITED STATES BANKRUPTCY COURT
                           FOR THE MIDDLE DISTRICT OF FLORIDA
                                      TAMPA DIVISION
                                     www.flmb.uscourts.gov

In re:
CFRA HOLDINGS, LLC                                       Case No. 8:20-bk-03608-CPM
                                                         Chapter 11

                                                         Jointly Administered with:
CFRA, LLC
CFRA TRI-CITIES, LLC                                     Case No. 8:20-bk-03609-CPM
                                                         Case No. 8:20-bk-03610-CPM

                                Debtors.
                                                   /

                GLOBAL NOTES REGARDING DEBTORS’ SCHEDULES OF
           ASSETS AND LIABILITIES AND STATEMENT OF FINANCIAL AFFAIRS

        The Schedules of Assets and Liabilities (the “Schedules”) and Statement of Financial
Affairs (the “SOFA” and, collectively with the Schedules, the “Schedules and Statements”)
filed herewith by the debtors (the “Debtors”) in the above-captioned cases were prepared
pursuant to section 521 of title 11 of the United States Code (the “Bankruptcy Code”) and Rule
1007 of the Federal Rules of Bankruptcy Procedure (the “Bankruptcy Rules”) by the Debtors
and have not been subject to audit, review or any similar financial analysis. While the Debtors
have made every reasonable effort to ensure that the Schedules and Statements are accurate and
complete based upon information that was available to them at the time of preparation, there can
be no assurance as to their accuracy and completeness, and the subsequent receipt of information
may result in material changes to the financial data and other information contained therein. The
Debtors’ management consists solely of the Debtors’ Chief Restructuring Officer, who relied
entirely on the books and records of the Debtors as provided by the Debtors’ prior management
and/or the corporate owners of the Debtors in preparing the Schedules and Statements. The
Debtors used their best efforts to present the information set forth in the Schedules and
Statements from these books and records that were, to the best of the Debtors’ knowledge and
understanding, maintained in the ordinary course of business. The Debtors reserves the right to
amend the Schedules and Statements from time to time as may be necessary or appropriate.
These Global Notes Regarding Debtors’ Schedules of Assets and Liabilities and Statement of
Financial Affairs (the “Global Notes”) are incorporated by reference in, and comprise an integral
part of, the Schedules and Statements, and should be referred to and reviewed in connection with
any review of the Schedules and Statements.

        1.      Description of the Cases and “as of” Information Date. Unless otherwise
indicated in the Schedules or Statements or herein, the asset and liability information provided is
as of the date upon which the Debtors filed voluntary petitions under chapter 11 of the
Bankruptcy Code (the “Petition Date”) with the United States Bankruptcy Court for the Middle



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District of Florida (the “Bankruptcy Court”).

        2.      Basis of Presentation. Although, as noted above, the Debtors have used their best
efforts to present accurate information, the amount of the Debtors’ actual assets and liabilities
could differ from the amounts set forth in the Schedules and Statements. In addition, some of the
Debtors’ scheduled assets and liabilities are unknown and/or unliquidated at this time. In such
cases, the amounts may be listed as “unknown” or, with respect to certain assets, may be listed at
net book value. Amounts listed as “unknown” are ascribed a $0 value when calculating
summaries and subtotals (i.e., lines 80 through 92 on Schedule A/B for each Debtor), which
should not be taken as an indication by the Debtors’ that any such assets have no value; all such
summaries and subtotals are calculated automatically and are for informational purposes only.
Given the differences between the information requested in the Schedules and Statements and
the presentation of the financial information under generally accepted accounting principles in
the United States (“GAAP”), the aggregate asset values and claim amounts set forth in the
Schedules and Statements do not necessarily reflect the amounts that would be set forth in a
balance sheet prepared in accordance with GAAP.

       3.     Summary of Significant Reporting Policies. The following conventions were
adopted by the Debtors in the preparation of the Schedules and Statements:

                    (a)       Accounts Receivable. Accounts Receivable generally are presented on a
             gross basis.

                    (b)     Causes of Action. The Debtors are still investigating the existence of any
             potential causes of action that may be listed on Questions 74 and 75 of Schedule A/B.
             The Debtors reserve all rights with respect to any such claims or causes of action it may
             have and neither these Global Notes nor the Schedules and Statements shall be deemed a
             waiver of any such causes of action.

                     (c)    Schedule D - Secured Claims. The Debtors have not included on
             Schedule D claims that may be secured through setoff rights, deposits posted by or on
             behalf of the Debtors, or inchoate statutory lien rights. Such counterparties, if any, have
             been listed on Schedule F or Schedule G, as applicable. The Debtors reserve the right to
             dispute or challenge the extent, validity, perfection or immunity from avoidance of any
             lien purported to be granted or perfected in any specific asset to a secured creditor listed
             on Schedule D. Secured claim amounts have been listed on Schedule D without regard to
             the value of assets securing such claims. No attempt was made by the Debtors to
             estimate the fair market value as of the Petition Date of assets pledged pursuant to a
             secured obligation. No claim set forth on Schedule D of any Debtor is intended to
             acknowledge claims of creditors that are otherwise satisfied or discharged by other
             entities. The descriptions provided in Schedule D are intended only to be a summary.
             Reference to the applicable loan agreements and related documents is necessary for a
             complete description of the collateral and the nature, extent and priority of any liens.
             Nothing in the Global Notes or the Schedules and Statements shall be deemed a
             modification or interpretation of the terms of such agreements.

                        (d)   Schedule E/F – Priority and Unsecured Claims. Although the Debtors


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             may have scheduled claims of various creditors as priority claims, the Debtors reserve all
             rights to dispute or challenge the priority treatment of any such creditor’s claim (or
             portion thereof) or the characterization of the structure of any such transaction or any
             document or instrument related to such creditor’s claim. The claims of individual
             creditors for, among other things, goods, services, or taxes are listed at the amounts listed
             on the Debtors’ books and records and may not reflect credits or allowances due from
             such creditor, or any additional amounts that might be owed to such creditor as a result of
             either unbilled or unprocessed invoices. The dollar amounts listed may also be exclusive
             of contingent and unliquidated amounts. The Debtors expressly incorporate by reference
             into Schedule E/F all parties to pending and potential pending litigation with the Debtors,
             as listed in the Debtors’ Statements, as contingent, unliquidated, and disputed claims to
             the extent not already listed in the schedule.

                     (e)      Schedule G - Executory Contracts/Unexpired Leases. While every
             reasonable effort has been made to ensure the accuracy of Schedule G regarding
             executory contracts and unexpired leases, inadvertent errors or omissions may have
             occurred. Without limitation of the foregoing, the contracts, agreements, and leases listed
             on Schedule G may have expired or may have been modified, amended, supplemented or
             terminated from time to time by various amendments, restatements, waivers, estoppel
             certificates, letters, and other documents, instruments, and agreements which may not be
             listed therein. Certain of the leases and contracts listed on Schedule G may contain
             certain renewal options, guarantees of payment, options to purchase, rights of first
             refusal, and other miscellaneous rights. Such rights, powers, duties, and obligations are
             not set forth on Schedule G. Certain of the Debtors’ executory agreements may not have
             been memorialized in writing and could be subject to dispute. The presence of a contract
             or agreement on Schedule G does not constitute an admission that such contract or
             agreement is an executory contract or unexpired lease. Similarly, the absence of a
             contract or agreement on Schedule G does not constitute an admission that any other
             contract or agreement to which a Debtor is a party is not executory. Parties to executory
             contracts and unexpired leases were not listed on Schedule E/F, except where past due
             amounts were recorded in the Debtors’ accounts payable. The Debtors have not listed on
             Schedule E/F landlords and executory contract counterparties which may have claims
             related to contract/lease rejection or other damages.

        4.     Global Notes Control. In the event that the Schedules and Statements differ from
the foregoing Global Notes, the Global Notes shall control.




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 Fill in this information to identify the case:

 Debtor name         CFRA Holdings, LLC

 United States Bankruptcy Court for the:            MIDDLE DISTRICT OF FLORIDA

 Case number (if known)         8:20-bk-03608-CPM
                                                                                                                                        Check if this is an
                                                                                                                                           amended filing



Official Form 207
Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                                                                       04/19
The debtor must answer every question. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
write the debtor’s name and case number (if known).

 Part 1:      Income

1. Gross revenue from business

       None.
       Identify the beginning and ending dates of the debtor’s fiscal year,                    Sources of revenue                          Gross revenue
       which may be a calendar year                                                            Check all that apply                        (before deductions and
                                                                                                                                           exclusions)

       From the beginning of the fiscal year to filing date:                                    Operating a business                                          $0.00
       From 1/01/2020 to Filing Date
                                                                                                Other


       For prior year:                                                                          Operating a business                                          $0.00
       From 1/01/2019 to 12/31/2019
                                                                                                Other


       For year before that:                                                                    Operating a business                                          $0.00
       From 1/01/2018 to 12/31/2018
                                                                                                Other

2. Non-business revenue
   Include revenue regardless of whether that revenue is taxable. Non-business income may include interest, dividends, money collected from lawsuits,
   and royalties. List each source and the gross revenue for each separately. Do not include revenue listed in line 1.

       None.
                                                                                               Description of sources of revenue           Gross revenue from
                                                                                                                                           each source
                                                                                                                                           (before deductions and
                                                                                                                                           exclusions)

 Part 2:      List Certain Transfers Made Before Filing for Bankruptcy

3. Certain payments or transfers to creditors within 90 days before filing this case
   List payments or transfers--including expense reimbursements--to any creditor, other than regular employee compensation, within 90 days before
   filing this case unless the aggregate value of all property transferred to that creditor is less than $6,825. (This amount may be adjusted on 4/01/22
   and every 3 years after that with respect to cases filed on or after the date of adjustment.)

       None.
       Creditor's Name and Address                                         Dates                 Total amount of value         Reasons for payment or transfer
                                                                                                                               Check all that apply

4. Payments or other transfers of property made within 1 year before filing this case that benefited any insider
   List payments or transfers, including expense reimbursements, made within 1 year before filing this case on debts owed to an insider or guaranteed
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    or cosigned by an insider unless the aggregate value of all property transferred to or for the benefit of the insider is less than $6,825. (This amount
    may be adjusted on 4/01/22 and every 3 years after that with respect to cases filed on or after the date of adjustment.) Do not include any payments
    listed in line 3. Insiders include officers, directors, and anyone in control of a corporate debtor and their relatives; general partners of a partnership
    debtor and their relatives; affiliates of the debtor and insiders of such affiliates; and any managing agent of the debtor. 11 U.S.C. § 101(31).

       None.
       Insider's name and address                                            Dates               Total amount of value           Reasons for payment or transfer
       Relationship to debtor

5. Repossessions, foreclosures, and returns
   List all property of the debtor that was obtained by a creditor within 1 year before filing this case, including property repossessed by a creditor, sold at
   a foreclosure sale, transferred by a deed in lieu of foreclosure, or returned to the seller. Do not include property listed in line 6.

       None
       Creditor's name and address                              Describe of the Property                                       Date                Value of property


6. Setoffs
   List any creditor, including a bank or financial institution, that within 90 days before filing this case set off or otherwise took anything from an account
   of the debtor without permission or refused to make a payment at the debtor’s direction from an account of the debtor because the debtor owed a
   debt.

       None
       Creditor's name and address                              Description of the action creditor took                        Date action was                 Amount
                                                                                                                               taken

 Part 3:      Legal Actions or Assignments

7. Legal actions, administrative proceedings, court actions, executions, attachments, or governmental audits
   List the legal actions, proceedings, investigations, arbitrations, mediations, and audits by federal or state agencies in which the debtor was involved
   in any capacity—within 1 year before filing this case.

       None.
               Case title                                       Nature of case             Court or agency's name and                 Status of case
               Case number                                                                 address

8. Assignments and receivership
   List any property in the hands of an assignee for the benefit of creditors during the 120 days before filing this case and any property in the hands of a
   receiver, custodian, or other court-appointed officer within 1 year before filing this case.

       None
       Custodian's name and Address                             Describe the property                                                    Value
       J. Tim Pruban (assignee)                                 Assignment for the Benefit of Creditors
                                                                                                                                                            Unknown
       Focus Management Group USA,
       Inc.                                                     Case title                                                               Court name and address
       30725 U.S. Highway 19, #330                              In re Assignment for Benefit of Creditor                                 Sixth Judicial Circuit
       Palm Harbor, FL 34684                                    Case number                                                              Court - Pinellas
                                                                20-002020-CI
                                                                Date of order or assignment




 Part 4:      Certain Gifts and Charitable Contributions

9. List all gifts or charitable contributions the debtor gave to a recipient within 2 years before filing this case unless the aggregate value of
   the gifts to that recipient is less than $1,000

       None


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               Recipient's name and address                     Description of the gifts or contributions                Dates given                         Value


 Part 5:       Certain Losses

10. All losses from fire, theft, or other casualty within 1 year before filing this case.

       None
       Description of the property lost and                     Amount of payments received for the loss                 Dates of loss          Value of property
       how the loss occurred                                                                                                                                 lost
                                                                If you have received payments to cover the loss, for
                                                                example, from insurance, government compensation, or
                                                                tort liability, list the total received.

                                                                List unpaid claims on Official Form 106A/B (Schedule
                                                                A/B: Assets – Real and Personal Property).

 Part 6:       Certain Payments or Transfers

11. Payments related to bankruptcy
    List any payments of money or other transfers of property made by the debtor or person acting on behalf of the debtor within 1 year before the filing
    of this case to another person or entity, including attorneys, that the debtor consulted about debt consolidation or restructuring, seeking bankruptcy
    relief, or filing a bankruptcy case.

       None.
                Who was paid or who received                         If not money, describe any property transferred           Dates             Total amount or
                the transfer?                                                                                                                             value
                Address

12. Self-settled trusts of which the debtor is a beneficiary
    List any payments or transfers of property made by the debtor or a person acting on behalf of the debtor within 10 years before the filing of this case
    to a self-settled trust or similar device.
    Do not include transfers already listed on this statement.

       None.
       Name of trust or device                                       Describe any property transferred                 Dates transfers           Total amount or
                                                                                                                       were made                          value

13. Transfers not already listed on this statement
    List any transfers of money or other property by sale, trade, or any other means made by the debtor or a person acting on behalf of the debtor within
    2 years before the filing of this case to another person, other than property transferred in the ordinary course of business or financial affairs. Include
    both outright transfers and transfers made as security. Do not include gifts or transfers previously listed on this statement.

       None.
               Who received transfer?                           Description of property transferred or                   Date transfer           Total amount or
               Address                                          payments received or debts paid in exchange              was made                         value

 Part 7:       Previous Locations

14. Previous addresses
    List all previous addresses used by the debtor within 3 years before filing this case and the dates the addresses were used.


       Does not apply
                Address                                                                                                    Dates of occupancy
                                                                                                                           From-To
       14.1.    900 Branchview Drive
                Suite 215
                Concord, NC 28025

 Part 8:       Health Care Bankruptcies

15. Health Care bankruptcies

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    Is the debtor primarily engaged in offering services and facilities for:
    - diagnosing or treating injury, deformity, or disease, or
    - providing any surgical, psychiatric, drug treatment, or obstetric care?

           No. Go to Part 9.
       Yes. Fill in the information below.

                Facility name and address                       Nature of the business operation, including type of services            If debtor provides meals
                                                                the debtor provides                                                     and housing, number of
                                                                                                                                        patients in debtor’s care

 Part 9:      Personally Identifiable Information

16. Does the debtor collect and retain personally identifiable information of customers?

           No.
       Yes. State the nature of the information collected and retained.
17. Within 6 years before filing this case, have any employees of the debtor been participants in any ERISA, 401(k), 403(b), or other pension or
    profit-sharing plan made available by the debtor as an employee benefit?

           No. Go to Part 10.
       Yes. Does the debtor serve as plan administrator?

 Part 10:     Certain Financial Accounts, Safe Deposit Boxes, and Storage Units

18. Closed financial accounts
    Within 1 year before filing this case, were any financial accounts or instruments held in the debtor’s name, or for the debtor’s benefit, closed, sold,
    moved, or transferred?
    Include checking, savings, money market, or other financial accounts; certificates of deposit; and shares in banks, credit unions, brokerage houses,
    cooperatives, associations, and other financial institutions.

       None
                Financial Institution name and                  Last 4 digits of          Type of account or          Date account was              Last balance
                Address                                         account number            instrument                  closed, sold,             before closing or
                                                                                                                      moved, or                          transfer
                                                                                                                      transferred

19. Safe deposit boxes
    List any safe deposit box or other depository for securities, cash, or other valuables the debtor now has or did have within 1 year before filing this
    case.


       None
       Depository institution name and address                       Names of anyone with                 Description of the contents            Do you still
                                                                     access to it                                                                have it?
                                                                     Address

20. Off-premises storage
    List any property kept in storage units or warehouses within 1 year before filing this case. Do not include facilities that are in a part of a building in
    which the debtor does business.


       None
       Facility name and address                                     Names of anyone with                 Description of the contents            Do you still
                                                                     access to it                                                                have it?


 Part 11:     Property the Debtor Holds or Controls That the Debtor Does Not Own




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21. Property held for another
    List any property that the debtor holds or controls that another entity owns. Include any property borrowed from, being stored for, or held in trust. Do
    not list leased or rented property.

     None

 Part 12:     Details About Environment Information

For the purpose of Part 12, the following definitions apply:
     Environmental law means any statute or governmental regulation that concerns pollution, contamination, or hazardous material, regardless of the
     medium affected (air, land, water, or any other medium).

      Site means any location, facility, or property, including disposal sites, that the debtor now owns, operates, or utilizes or that the debtor formerly
      owned, operated, or utilized.

      Hazardous material means anything that an environmental law defines as hazardous or toxic, or describes as a pollutant, contaminant, or a
      similarly harmful substance.

Report all notices, releases, and proceedings known, regardless of when they occurred.

22. Has the debtor been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.

           No.
       Yes. Provide details below.
       Case title                                                    Court or agency name and             Nature of the case                            Status of case
       Case number                                                   address

23. Has any governmental unit otherwise notified the debtor that the debtor may be liable or potentially liable under or in violation of an
    environmental law?

           No.
       Yes. Provide details below.
       Site name and address                                         Governmental unit name and               Environmental law, if known               Date of notice
                                                                     address

24. Has the debtor notified any governmental unit of any release of hazardous material?

           No.
       Yes. Provide details below.
       Site name and address                                         Governmental unit name and               Environmental law, if known               Date of notice
                                                                     address

 Part 13:     Details About the Debtor's Business or Connections to Any Business

25. Other businesses in which the debtor has or has had an interest
    List any business for which the debtor was an owner, partner, member, or otherwise a person in control within 6 years before filing this case.
    Include this information even if already listed in the Schedules.

       None
    Business name address                                     Describe the nature of the business              Employer Identification number
                                                                                                               Do not include Social Security number or ITIN.

                                                                                                               Dates business existed

26. Books, records, and financial statements
    26a. List all accountants and bookkeepers who maintained the debtor’s books and records within 2 years before filing this case.
          None
       Name and address                                                                                                                        Date of service
                                                                                                                                               From-To


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       Name and address                                                                                                                 Date of service
                                                                                                                                        From-To
       26a.1.       Thomas Gough (former CFO)
                    421 Running Horse Lane
                    Waxhaw, NC 28173
       26a.2.       Tony Cerillo
                    1340 Hamlet Avenue
                    Clearwater, FL 33756

    26b. List all firms or individuals who have audited, compiled, or reviewed debtor’s books of account and records or prepared a financial statement
         within 2 years before filing this case.

           None
       Name and address                                                                                                                 Date of service
                                                                                                                                        From-To
       26b.1.       Elliot Davis
                    One 10th Street
                    Suite 400
                    Augusta, GA 30903

    26c. List all firms or individuals who were in possession of the debtor’s books of account and records when this case is filed.

           None
       Name and address                                                                                      If any books of account and records are
                                                                                                             unavailable, explain why
       26c.1.       Elliot Davis
                    One 10th Street
                    Suite 400
                    Augusta, GA 30903
       26c.2.       Prometheus Franchise Restaurant Holdings
                    1340 Hamlet Avenue
                    Clearwater, FL 33756

    26d. List all financial institutions, creditors, and other parties, including mercantile and trade agencies, to whom the debtor issued a financial
         statement within 2 years before filing this case.

           None
       Name and address
       26d.1.  Valley National Bank
                    4790 140th Avenue North
                    Clearwater, FL 33762
       26d.2.       Raymond James Bank, N.A.
                    710 Carillon Parkway
                    Saint Petersburg, FL 33716
       26d.3.       IHOP Franchisor, LLC (and/or affiliates)
                    450 North Brand Boulevard
                    7th Floor
                    Glendale, CA 91203

27. Inventories
    Have any inventories of the debtor’s property been taken within 2 years before filing this case?

           No
       Yes. Give the details about the two most recent inventories.


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               Name of the person who supervised the taking of the                          Date of inventory         The dollar amount and basis (cost, market,
               inventory                                                                                              or other basis) of each inventory

28. List the debtor’s officers, directors, managing members, general partners, members in control, controlling shareholders, or other people
    in control of the debtor at the time of the filing of this case.

       Name                                           Address                                             Position and nature of any             % of interest, if
                                                                                                          interest                               any
       J. Tim Pruban                                  6585 N. Avondale Ave.                               Chief Restructuring Officer            N/A
                                                      Chicago, IL 60631

       Name                                           Address                                             Position and nature of any             % of interest, if
                                                                                                          interest                               any
       Prometheus Franchise                           1340 Hamlet Avenue                                  Sole Member                            100%
       Restaurant Holdings                            Clearwater, FL 33756



29. Within 1 year before the filing of this case, did the debtor have officers, directors, managing members, general partners, members in
    control of the debtor, or shareholders in control of the debtor who no longer hold these positions?


       No
           Yes. Identify below.

       Name                                           Address                                             Position and nature of any         Period during which
                                                                                                          interest                           position or interest
                                                                                                                                             was held
       Nicholas Peters                                1340 Hamlet Avenue                                  President and CEO
                                                      Clearwater, FL 33756

       Name                                           Address                                             Position and nature of any         Period during which
                                                                                                          interest                           position or interest
                                                                                                                                             was held
       Chris Suh                                      1340 Hamlet Avenue                                  Treasurer
                                                      Clearwater, FL 33756


30. Payments, distributions, or withdrawals credited or given to insiders
    Within 1 year before filing this case, did the debtor provide an insider with value in any form, including salary, other compensation, draws, bonuses,
    loans, credits on loans, stock redemptions, and options exercised?

           No
       Yes. Identify below.
               Name and address of recipient                    Amount of money or description and value of              Dates               Reason for
                                                                property                                                                     providing the value

31. Within 6 years before filing this case, has the debtor been a member of any consolidated group for tax purposes?

       No
           Yes. Identify below.

    Name of the parent corporation                                                                             Employer Identification number of the parent
                                                                                                               corporation
    Prometheus Franchise Restaurant Holdings, LLC                                                              EIN:        463254266

32. Within 6 years before filing this case, has the debtor as an employer been responsible for contributing to a pension fund?

           No
       Yes. Identify below.
    Name of the pension fund                                                                                   Employer Identification number of the parent
                                                                                                               corporation

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 Part 14:     Signature and Declaration

      WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
      connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both.
      18 U.S.C. §§ 152, 1341, 1519, and 3571.

      I have examined the information in this Statement of Financial Affairs and any attachments and have a reasonable belief that the information is true
      and correct.

      I declare under penalty of perjury that the foregoing is true and correct.

 Executed on         June 3, 2020

 /s/ J. Tim Pruban                                                      J. Tim Pruban
 Signature of individual signing on behalf of the debtor                Printed name

 Position or relationship to debtor         Chief Restructuring Officer

Are additional pages to Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy (Official Form 207) attached?
 No
 Yes




Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                             page 8
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